UNITED STATES D!STR§CT COURT/SOUTHERN DiSTR|CT OF NEW Attorney: JOSEPH H‘ M|ZRAH| LAW, P.C.
YORK

 

CEDR|C B|SHOP, ON BEHALF OF HlN|SELF AND ALL OTHEFRS S|MILAR|_Y
S|TUATE§§}
P|aintif€{s)
. |ncle><#18 CV 01205
- against -

Purchased February11,2018
SU|W\|DA & KHURANA, LLC

Defendant(s)
AFF|DAV|T OF SERV|CE

 

STATE OF NEW YORKZ COUNTY OF NEW YORK SSC
ER|KA TEJEDA BEING DULY SWOF'EN DEF’OSES AND SAYS DEPONENT fS NOT A PARTY TO THiS ACT|ON, OVER THE AGE OF
EIGHTEEN YEARS AND RES|DES |N THE S`§'ATE OF NEW YORK.

That on February 28, 2018 at 10:01 AM at

C/O AM|T KHURANA

520 WEST 27TH STREET
SU|TE 302

NEW YORK‘ NY 10001

deponeni served the within SUN|MONS AND COMPLA}NT, C|Vii_ CO\/ER SHEET en Sl_ffv'|A|DA & KHURANA\ LLC therein named.

BY LEAV|NG A TRUE COPY W|TH VANESSA "T",, OFFlCE MANAGER` BEING AUTHOR|ZED TO ACCEPT LEGAL
PAPERS STATED.

Depcment further states that he describes the person ac£ua||y served as follows:
Sex S!<in Co|or Ha`:r Coior Age {Approx,) Meight (Appro><\) We`lght (Appro><)
FEMALE BROWN BLACK 30 5‘7 140

 

 

PERSON SPOKEN 'E`O REF`USED TO STATE TRUE L_AST NAME.

 
  
 

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Sworn to me on: March1.2038 A/

 

JCSEPH KNiGHT ’/'RALPH J MULLEN viNETrA BRF_WER

Nacary Publi:‘ Siace of New YDrk Notary Pub\ic. 51 or ew York Nozary Publzc. male or New York lK:fED/A
No. 01KN61?8241 No1 01~1052336 2 No. 4949206

manned m New Ymi< county manned in N¢w ark coumy Qualined in Bronx coumy mens # 1088563
Commission Expires November 26_ 2619 Cc>mm`sssion Expires Apri| 11,2019 Commissicn Expires April 3, 2019 ]nvgige #_ 689[)59

UNiTED PROCESS SERV|CE, |NC,. SRD FLOOR. 315 BROADWAY. NEW YORK, NY 10007- (212) 619-0728 NVCDCA#1102045

